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                        UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF MISSISSIPPI


IN RE: DARRELL BRADLEY                                         CHAPTER 13
       LATONYA PEGUES

DEBTORS                                                        CASE NO. 18-13868-jdw


                WITHDRAWAL OF OBJECTION TO PROOF OF CLAIM

       COMES NOW, Darrell Bradley and Latonya Pegues, Debtors, by and through counsel,

and files this Withdrawal of Objection (Dkt. #26) to the Proof of Claim filed by OneMain

Financial Group, LLC, (Claim 3-1).

              This the 30th day of January, 2019.

                                     /s/Karen B. Schneller
                                     KAREN B. SCHNELLER, MSB 6558
                                     ROBERT H. LOMENICK, JR., MSB 104186
                                     SCHNELLER & LOMENICK, P.A.
                                     126 NORTH SPRING STREET
                                     POST OFFICE BOX 417
                                     HOLLY SPRINGS, MS 38635
                                     662-252-3224/karen.schneller@gmail.com
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                                  CERTIFICATE OF SERVICE

          I, Karen B. Schneller/Robert H. Lomenick, attorney for the Debtor, hereby certify that a
copy of the foregoing Notice of Objection to Claim and Objection to Claim has this day been
served upon the Chapter 13 Trustee, the U.S. Trustee and Mississippi Department of Revenue,
either by electronic means or by United States Mail.

OneMain Financial Group, LLC
Post Office Box 3251
Evansville, IN 47731-3251

Ms. Locke D. Barkley
Chapter 13 Trustee
6360 I-55 North, Suite 140
Jackson, MS 39211

Office of U.S. Trustee
501 East Court Street, Suite 6-430
Jackson, Mississippi 39201

                                  This the 30th day of January, 2019,

                                  /s/Karen B. Schneller
                                  KAREN B. SCHNELLER
                                  ROBERT H. LOMENICK
